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 5995578ÿÿ7887ÿ2192ÿ462ÿ58ÿ6ÿ854ÿ9572ÿÿ9258774758ÿ45ÿ4622ÿ2192ÿ59ÿ74ÿ7
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5ÿ462ÿ1872ÿ78594758#ÿ$5995578ÿ858ÿ7887ÿ2192ÿ9572ÿ746514ÿ462ÿ54ÿ7924
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657474ÿ9172ÿ782ÿ624692ÿ8ÿ54629ÿ7814972#ÿ 74758ÿ462ÿ58ÿ7ÿÿ94829ÿ78ÿÿl5784ÿ284192ÿ676
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    Case 2:20-cv-08673-MCA-MAH Document 27-4 Filed 01/04/22 Page 9 of 63 PageID: 574

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107113ÿ9ÿ2ÿ25123ÿ ÿ 1ÿ5229:29ÿ94892ÿ2ÿ15021ÿ 91ÿ;41491ÿ< 9158ÿ 1ÿ3ÿ ÿ25ÿ01528931
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89345213ÿ584ÿ5123ÿ9292ÿ5ÿ15292ÿ932997ÿ ÿ349153ÿ5ÿ2559153ÿ28ÿ 15ÿ91038ÿ1ÿ2997ÿÿ98
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  ÿ233133ÿ28ÿ90101ÿ12913ÿ9ÿ345ÿ ÿ 1ÿ 0273ÿ81101ÿ ÿ93ÿ 0921ÿ22999138
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8935493ÿ ÿ 1ÿ 0273ÿ9 5029ÿ127ÿ373103ÿ94892ÿ4ÿ ÿ90918ÿ ÿ314597ÿ51213ÿ ÿ373103
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259392ÿ50ÿ21213ÿ ÿ 1ÿ 0273ÿ5ÿ2ÿ 958ÿ257ÿ584ÿ5ÿ31591ÿ349153ÿ0921ÿ9ÿ25943ÿ23
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    Case 2:20-cv-08673-MCA-MAH Document 27-4 Filed 01/04/22 Page 11 of 63 PageID: 576

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ÿÿÿÿR76?=:8>A;7ÿA8B789N6A7;                                                                PGSLFGISPÿ PGKLKGPKH
ÿÿÿÿT67U:A>ÿ7VU78;7;ÿ:8>ÿN9=76ÿ?566789ÿ:;;79;                                                PSLGQIEÿ       LIHGQSJ
ÿÿÿÿÿÿÿÿWN9:Cÿ?566789ÿ:;;79;                                                               HGKJEGFJPÿ HGJSKGHIQ
XN8Yÿ976OÿA8B7;9O789ÿ;7?56A9A7;                                                               PFGKEEÿ        QJGJSE
T6NU769Zÿ:8>ÿ7@5AUO789Gÿ879                                                                QGIPPGKEJÿ QGIJHGPHF
[U76:9A8YÿC7:;7ÿ:;;79;                                                                     QGJJFGJKHÿ             \
]NN>^ACC                                                                                           \ÿ       EQKGPIH
[9=76ÿ:;;79;                                                                                 LSKGEILÿ       LPEGIJS
ÿ                                                                                     D EGJIIGQJS ÿD EGFQHGELK
_àbc̀3̀+̀2ÿa*dÿeaf+egcd+f2hÿ1i)3̀j                                                                ÿÿ             ÿ
4566789ÿCA:kACA9A7;<                                                                                ÿÿ             ÿ
ÿÿÿÿl??N589;ÿU:Z:kC7                                                                  D QGFKKGPIPÿD QGFIPGJLH
ÿÿÿÿl??657>ÿ7VU78;7;ÿ:8>ÿN9=76ÿ?566789ÿCA:kACA9A7;                                           SJFGFIEÿ       EQKGFKJ
ÿÿÿÿR76?=:8>A;7ÿ?67>A9ÿ:8>ÿYAm9ÿ?:6>ÿCA:kACA9A7;                                             HLHGFIEÿ       HPJGFSS
ÿÿÿÿ4566789ÿNU76:9A8YÿC7:;7ÿCA:kACA9A7;                                                      LQFGLQEÿ             \
ÿÿÿÿ4566789ÿA8?NO7ÿ9:V7;ÿU:Z:kC7                                                              PQGPFJÿ             \
ÿÿÿÿÿÿÿÿWN9:Cÿ?566789ÿCA:kACA9A7;                                                          PGLHQGFIPÿ PGQPIGFKE
[9=76ÿCA:kACA9A7;                                                                            QILGPLPÿ       LHQGEJJ
n8?NO7ÿ9:V7;ÿU:Z:kC7                                                                          LEGELSÿ        SEGSFE
[U76:9A8YÿC7:;7ÿCA:kACA9A7;                                                                QGEESGFIQÿ             \
XN8Yÿ976Oÿ>7k9                                                                             QGLIIGFSQÿ QGLJPGQJL
ÿÿÿÿÿÿÿÿWN9:CÿCA:kACA9A7;                                                                  SGJPKGPFQÿ LGQFJGSKE
M=:67=NC>76;oÿ7@5A9Z<                                                                               ÿÿ             ÿ
     T67m7667>ÿ;9N?pÿqÿDFrFQÿU:6ÿB:C57sÿ:59=N6At7>ÿqÿQGFFFÿ;=:67;sÿ8Nÿ;=:67;ÿA;;57>ÿN6
       N59;9:8>A8Y                                                                                 \ÿ             \
     4NOON8ÿ;9N?pÿqÿDFrFQÿU:6ÿB:C57sÿ:59=N6At7>ÿqÿJFFGFFFÿ;=:67;sÿA;;57>ÿHLHGLQJ
       :8>ÿHLPGKLPÿ;=:67;Gÿ67;U7?9AB7CZsÿN59;9:8>A8YÿQPEGEELÿ:8>ÿQLFGQHQÿ;=:67;G
       67;U7?9AB7CZ                                                                             HGLHLÿ         HGLPK
     l>>A9AN8:CÿU:A>qA8ÿ?:UA9:C                                                            PGQHIGHKPÿ PGFIPGPHI
     u79:A87>ÿ7:68A8Y;                                                                    QFGKEJGSQSÿ QQGHKFGSEP
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ÿÿÿÿÿÿÿÿ̀EDAEKG9FG>Hÿ9H[ÿ9B>AFGa9FG>H                                                             WRUXYbÿ         ScUXSW
ÿÿÿÿÿÿÿÿd>>[?G==ÿ9H[ÿ>F;EAÿGBD9GABEHF:                                                           YVTUbZSÿ             e
ÿÿÿÿÿÿÿÿfF>Kgh^9:E[ÿK>BDEH:9FG>H                                                                  TcURYWÿ         bRUXSb
ÿÿÿÿÿÿÿÿ̀E@EAAE[ÿGHK>BEÿF9iE:                                                                    OXYUXTYPÿ        ORUXYWP
ÿÿÿÿÿÿÿÿCF;EA                                                                                      ObURVTPÿ       OTUTVcP
ÿÿÿÿÿÿÿÿ̀EKAE9:EÿOGHKAE9:EPÿGHÿ9::EF:M                                                                   ÿÿ             ÿ
ÿÿÿÿÿÿÿÿÿÿÿjEAK;9H[G:EÿGHLEHF>AGE:                                                                SZUYXXÿ         WbUbXb
ÿÿÿÿÿÿÿÿÿÿÿkA9[GHIÿGHLE:FBEHFÿ:EK]AGFGE:                                                               bTÿ        ObUVZcP
ÿÿÿÿÿÿÿÿÿÿÿCF;EAÿK]AAEHFÿ9::EF:                                                                       TRSÿ       TVYUcXY
ÿÿÿÿÿÿÿÿÿÿÿCF;EAÿ9::EF:                                                                                WWÿ          OYWbP
ÿÿÿÿÿÿÿÿO`EKAE9:EPÿGHKAE9:EÿGHÿ=G9^G=GFGE:M                                                              ÿÿ             ÿ
ÿÿÿÿÿÿÿÿÿÿÿJKK>]HF:ÿD9_9^=E                                                                      OTVUccZPÿ       OSWUSTSP
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ÿÿÿÿÿÿÿÿÿÿÿCF;EAÿ=G9^G=GFGE:                                                                         ORWcPÿ          ZVb
ÿÿÿÿNEFÿK9:;ÿDA>LG[E[ÿ^_ÿ>DEA9FGHIÿ9KFGLGFGE:                                                     cVUVWSÿ        bYYUccY
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ÿÿÿÿm]AK;9:Eÿ>@ÿ;E=[hF>hB9F]AGF_ÿGHLE:FBEHFÿ:EK]AGFGE:                                           OXSUVVVPÿ        OXUZbXP
ÿÿÿÿnE[EBDFG>Hÿ>@ÿ;E=[hF>hB9F]AGF_ÿGHLE:FBEHFÿ:EK]AGFGE:                                         RYRUVVVÿ        bRWUTbX
ÿÿÿÿ89DGF9=ÿEiDEH[GF]AE:                                                                         OZWURSXPÿ       OcSUWTRP
ÿÿÿÿNEFÿK9:;ÿDA>LG[E[ÿ^_ÿGHLE:FGHIÿ9KFGLGFGE:                                                    bTSUZbXÿ        TRYUZWS
89:;ÿ<=>?:ÿ@A>Bÿ<GH9HKGHIÿJKFGLGFGE:M                                                                    ÿÿ             ÿ
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ÿÿÿÿnED]AK;9:Eÿ>@ÿK>BB>Hÿ:F>KgUÿGHK=][GHIÿ@EE:                                                   OWTUYcXPÿ       ObbUTTVP
ÿÿÿÿNEFÿK9:;ÿ]:E[ÿGHÿ@GH9HKGHIÿ9KFGLGFGE:                                                       OTVRURWcPÿ       OYRUXbYP
ÿÿÿÿo@@EKFÿ>@ÿEiK;9HIEÿA9FEÿK;9HIE:ÿ>HÿK9:;UÿK9:;ÿEp]GL9=EHF:ÿ9H[ÿAE:FAGKFE[ÿK9:;                  ObUVcXPÿ       ORUZXTP
ÿÿÿÿNEFÿGHKAE9:EÿGHÿK9:;UÿK9:;ÿEp]GL9=EHF:ÿ9H[ÿAE:FAGKFE[ÿK9:;                                   bVbUbbWÿ        RRbUXVZ
89:;UÿK9:;ÿEp]GL9=EHF:ÿ9H[ÿAE:FAGKFE[ÿK9:;M                                                              ÿÿ             ÿ
ÿÿÿÿqEIGHHGHIÿ>@ÿDEAG>[                                                                          XbcUcSTÿ        RZSUTYV
ÿÿÿÿoH[ÿ>@ÿDEAG>[                                                                         Q SRbUTcc ÿQ ZccUZYZ
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                   EXHIBIT G
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                   EXHIBIT H
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    Case 2:20-cv-08673-MCA-MAH Document 27-4 Filed 01/04/22 Page 34 of 63 PageID: 599
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FKDSWHU RU5XOHERIWKH6HFXULWLHV([FKDQJH$FWRI ERIWKLVFKDSWHU 
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,IDQHPHUJLQJJURZWKFRPSDQ\LQGLFDWHE\FKHFNPDUNLIWKHUHJLVWUDQWKDVHOHFWHGQRWWRXVHWKHH[WHQGHGWUDQVLWLRQSHULRGIRUFRPSO\LQJZLWKDQ\
QHZRUUHYLVHGILQDQFLDODFFRXQWLQJVWDQGDUGVSURYLGHGSXUVXDQWWR6HFWLRQ D RIWKH([FKDQJH$FW໡
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,WHP5HJXODWLRQ)''LVFORVXUH
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      2Q6HSWHPEHU%HG%DWK %H\RQG,QF WKH³&RPSDQ\´ LVVXHGDSUHVVUHOHDVHFRQWDLQLQJDOHWWHUWRWKH&RPSDQ\¶VVKDUHKROGHUV
SURYLGLQJDQXSGDWHZLWKUHVSHFWWRWKH&RPSDQ\¶VRQJRLQJEXVLQHVVWUDQVIRUPDWLRQ$FRS\RIWKHSUHVVUHOHDVHLVDWWDFKHGDV([KLELWWRWKLV
&XUUHQW5HSRUWRQ)RUP.DQGLVLQFRUSRUDWHGE\UHIHUHQFHLQWRWKLV,WHP

       7KHLQIRUPDWLRQLQ,WHPRIWKLV&XUUHQW5HSRUWRQ)RUP.LVEHLQJIXUQLVKHGDQGVKDOOQRWEHGHHPHG³ILOHG´IRUWKHSXUSRVHVRI6HFWLRQ
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     3XUVXDQWWRWKHUHTXLUHPHQWVRIWKH6HFXULWLHV([FKDQJH$FWRIWKHUHJLVWUDQWKDVGXO\FDXVHGWKLVUHSRUWWREHVLJQHGRQLWVEHKDOIE\WKH
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  Case 2:20-cv-08673-MCA-MAH Document 27-4 Filed 01/04/22 Page 37 of 63 PageID: 602
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                                      %HG%DWK %H\RQG3URYLGHV6WUDWHJLF8SGDWHLQ/HWWHUWR6KDUHKROGHUV

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&RPSDQ\¶VEXVLQHVVWUDQVIRUPDWLRQHIIRUWV7KHIXOOWH[WRIWKHOHWWHUZKLFKFDQDOVREHIRXQGDW
KWWSEHGEDWKDQGEH\RQGJFVZHEFRPLQYHVWRUUHODWLRQVIROORZV
     'HDU)HOORZ6KDUHKROGHUV
     ,QUHFHQWPRQWKVZHKDYHLQLWLDWHGVLJQLILFDQWFKDQJHVDW%HG%DWK %H\RQGLQFOXGLQJDWWKH%RDUGOHYHODQGDFURVVWKHHQWLUHRUJDQL]DWLRQ2XU
     REMHFWLYHVDUHWRDFFHOHUDWHLPSURYHPHQWLQRXUILQDQFLDOSHUIRUPDQFHHQKDQFHRXUFRPSHWLWLYHSRVLWLRQLQJDQGHQVXUHZHKDYHDEHVWLQFODVV
     JRYHUQDQFHVWUXFWXUH:KLOHLQLWVHDUO\VWDJHVWKHWUDQVIRUPDWLRQXQGHUZD\LVDGYDQFLQJDQGZHZDQWHGWRVKDUHDQXSGDWHRQWKHSURJUHVVZH
     DUHPDNLQJWRZDUGDFKLHYLQJWKHVHREMHFWLYHV
     7KH%RDUGDQGPDQDJHPHQWWHDPDUHDOLJQHGDURXQGIRXUNH\SULRULWLHVZKLFKLQWHULP&(20DU\:LQVWRQFRPPXQLFDWHGGXULQJWKH&RPSDQ\¶V
     ILUVWTXDUWHUHDUQLQJVFRQIHUHQFHFDOOLQ-XO\7KHVHSULRULWLHVLQFOXGHVWDELOL]LQJDQGGULYLQJWRSOLQHJURZWKUHVHWWLQJWKHFRVWVWUXFWXUH
     UHYLHZLQJDQGRSWLPL]LQJWKH&RPSDQ\¶VDVVHWEDVHLQFOXGLQJWKHSRUWIROLRRIUHWDLOEDQQHUVDQGUHILQLQJ%HG%DWK %H\RQG¶VRUJDQL]DWLRQ
     VWUXFWXUH:HDUHUHOHQWOHVVLQRXUSXUVXLWRIVKRUWWHUPRSSRUWXQLWLHVWRHIIHFWPHDQLQJIXOFKDQJHZKLOHOD\LQJWKHIRXQGDWLRQIRUWUDQVIRUPLQJ
     RXU&RPSDQ\IRUORQJWHUPVXFFHVV6RPHH[DPSOHVDUH
     6WDELOL]LQJDQG'ULYLQJ7RS/LQH*URZWK±$UDSLGUHIUHVKRIQHDUO\%HG%DWK %H\RQGVWRUHVLVXQGHUZD\DQGLVH[SHFWHGWREHILQLVKHGLQ
     DGYDQFHRIWKHKROLGD\VHDVRQ:HH[SHFWWKLVPXOWLPLOOLRQGROODULQYHVWPHQWLQSK\VLFDOLPSURYHPHQWVWREHFOHDUO\YLVLEOHWRWKHFXVWRPHU
     DQGIDYRUDEO\LPSDFWWKHLQVWRUHVKRSSLQJH[SHULHQFHRYHUWKHVKRUWWHUP
     $ORQJHUWHUPFRPSUHKHQVLYHVWRUHUHQRYDWLRQSURJUDPLQFRQMXQFWLRQZLWKIXUWKHULQYHVWPHQWVLQRXUFXVWRPHUIDFLQJGLJLWDOFKDQQHOVDVZHOODV
     PDUNHWLQJDQGOR\DOW\LQLWLDWLYHVZLOOIXUWKHUWKHJRDOWRGHOLJKWRXUFXVWRPHUVZKHQHYHUDQGZKHUHYHUWKH\H[SHULHQFHRXUEUDQG
     5HVHWWLQJWKH&RVW6WUXFWXUH±&RVWVDYLQJVIURPRXUFRPSUHKHQVLYHOHDVHUHQHZDOHIIRUWVDQGWKHFRUSRUDWHZRUNIRUFHUHGXFWLRQDQQRXQFHGLQ
     ODWH-XO\DQGFHUWDLQRWKHUQHDUWHUPDFWLRQVDUHH[SHFWHGWRFROOHFWLYHO\WDNHWHQVRIPLOOLRQVRIGROODUVRXWRIWKHFRVWEDVHRIRXUEXVLQHVV
     LQFUHDVLQJPDUJLQVZKLOHDOVRFUHDWLQJDPRUHHIIHFWLYHRUJDQL]DWLRQWRPHHWWKHQHHGVRIRXUFXVWRPHUVWRGD\DQGLQWKHIXWXUH
     /RQJHUWHUPDVXEVWDQWLDOFKDQJHLQRXUVRXUFLQJDQGEX\LQJDSSURDFKWRLQFUHDVHWKHSHQHWUDWLRQRIRXUSULYDWHODEHORIIHULQJVVKRXOG\LHOG
     VLJQLILFDQWFRVWVDYLQJVRYHUWKHQH[WWZRWRWKUHH\HDUVDQGSURYLGHIXUWKHUSURGXFWGLIIHUHQWLDWLRQDQGDPRUHIDYRUDEOHPDUJLQVWUXFWXUH
     5HYLHZLQJDQG2SWLPL]LQJ2XU$VVHW%DVH±$QDJJUHVVLYHUHGXFWLRQRIXSWRELOOLRQRILQYHQWRU\LVH[SHFWHGWREHH[HFXWHGRYHUWKHQH[W
     PRQWKVLQFOXGLQJWKHUHPRYDORIH[FHVVDJHGLQYHQWRU\IURPRXUVWRUHVDQWLFLSDWHGEHIRUHWKHKROLGD\VHDVRQ7KLVHIIRUWVKRXOGDOORZXVWR
     TXLFNO\UHVHWLQYHQWRU\OHYHOVLQERWKRXUVWRUHVDQGGLVWULEXWLRQFHQWHUVDVZHOODVUHIUHVKRXUDVVRUWPHQWSURYLGLQJIRUQHZQHVVDQGKLJKHU
     PDUJLQSURGXFWVDOOLQDQHIIRUWWRGULYHFXVWRPHUWUDIILFDQGVXSSRUWWRSOLQHSHUIRUPDQFH
  $OVRZHFRQWLQXHWRHYDOXDWHRXUIOHHWWRFUHDWHDEHWWHUEDODQFHEHWZHHQRXUSK\VLFDODQGGLJLWDOSUHVHQFHZLWKLQWKHPDUNHWVZHVHUYHWRGHOLYHU
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   WKHVKRSSLQJH[SHULHQFHRXUFXVWRPHUVZDQW)XUWKHUPRUHZHH[SHFWWREHDEOHWRWDNHDGYDQWDJHRIRXUKHDY\OHDVHH[SLUDWLRQFDGHQFHRYHUWKH
   QH[WFRXSOHRI\HDUVWRFORVHXQGHUSHUIRUPLQJVWRUHVRUUHORFDWHVWRUHVWRLPSURYHVDOHVDQGSURILWDELOLW\RQDSHUVWRUHEDVLV
   :KLOHRXUQHDUWHUPSULRULWLHVDUHSULPDULO\IRFXVHGRQ%HG%DWK %H\RQGZHDUHDOVRZHOOXQGHUZD\ZLWKDUHYLHZRIWKHVWUDWHJLFDOLJQPHQW
   RIDOORIWKHRWKHUEXVLQHVVFRQFHSWVDQGDUHDVVHVVLQJZD\VWREHWWHUDOLJQRUFUHDWHYDOXHIURPWKHVHEUDQGV,QRUGHUWRVWUHDPOLQHDQGH[SHGLWH
   WKLVVWUDWHJLFUHYLHZZHPRYHGWKHUHSRUWLQJVWUXFWXUHRIDOOWKHVHRWKHUEXVLQHVVFRQFHSWVXQGHURQHOHDGHULQFRQMXQFWLRQZLWKRXURWKHU
   FRUSRUDWHZRUNIRUFHFKDQJHVPDGHLQODWH-XO\:KLOHZHFDQQRWPDNHDQ\DVVXUDQFHVZHDUHZRUNLQJZLWKRXWVLGHDGYLVRUVLQFOXGLQJ*ROGPDQ
   6DFKVDQGDUHFXUUHQWO\HYDOXDWLQJVHYHUDOGLIIHUHQWRSSRUWXQLWLHV
   %RDUG7UDQVIRUPDWLRQ±1LQHQHZLQGHSHQGHQWGLUHFWRUVKDYHEHHQDSSRLQWHGRYHUWKHSDVWIHZPRQWKVVLJQLILFDQWO\UHGXFLQJWKHDYHUDJHWHQXUH
   RIRXU%RDUG7KHQHZ%RDUGEULQJVULFKGLYHUVLW\RISHUVSHFWLYHVEDFNJURXQGVDJHVJHQGHUUDFHDQGHWKQLFLW\DQGUHIOHFWVWKHGLYHUVLW\RIWKH
   &RPSDQ\¶VOR\DOFXVWRPHUVDQGGHGLFDWHGDVVRFLDWHV
   2XUGLUHFWRUVDUHOHDGHUVLQJOREDOUHWDLOPHUFKDQGLVLQJWHFKQRORJ\ORJLVWLFVILQDQFHDQGJRYHUQDQFHDQGZHEHOLHYHWKDWRXUUHIUHVKHG%RDUGLV
   ZHOOHTXLSSHGWRSURYLGHDQDSSURSULDWHDQGHIIHFWLYHOHYHORIRYHUVLJKWDQGJXLGDQFHDVZHPRYHRXU&RPSDQ\IRUZDUGLQSDUWQHUVKLSZLWKRXU
   WDOHQWHGDQGKLJKO\GHGLFDWHGPDQDJHPHQWWHDP
   ,QWKLVVKRUWWLPHZHKDYHDOVRDFFRPSOLVKHGDJUHDWGHDOWRZDUGEXLOGLQJDEHVWLQFODVVJRYHUQDQFHVWUXFWXUHWRKHOSXVPRYHPRUHHIIHFWLYHO\
   WRZDUGRXUJRDOVLQFOXGLQJDSSRLQWLQJDQLQGHSHQGHQWFKDLUUHFRQVWLWXWLQJHDFKRIRXU%RDUGFRPPLWWHHVDSSRLQWLQJFRPPLWWHHFKDLUVDQG
   XSGDWLQJFRPPLWWHHFKDUWHUVDQGJRYHUQDQFHSROLFLHVDQGHVWDEOLVKLQJD%XVLQHVV7UDQVIRUPDWLRQDQG6WUDWHJLF5HYLHZ&RPPLWWHHWRUHYLHZDQG
   HYDOXDWHWKHRQJRLQJEXVLQHVVWUDQVIRUPDWLRQDQGPDNHUHFRPPHQGDWLRQVRQKRZWKH&RPSDQ\FDQEHVWFDSLWDOL]HRQDQGQDYLJDWHWKHHYROYLQJ
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   &(26HDUFK²6XEVWDQWLDOSURJUHVVKDVEHHQPDGHWRZDUGLGHQWLI\LQJWKH&RPSDQ\¶VQH[WSHUPDQHQW&(2:LWKWKHVXSSRUWRIDOHDGLQJ
   H[HFXWLYHVHDUFKILUPWKH%RDUG¶V&(26HDUFK&RPPLWWHHKDVXQGHUWDNHQDUREXVWSURFHVVWRLGHQWLI\DOHDGHUZKRKDVDPXOWLIDFHWHGVNLOOVHW
   LQFOXGLQJWUDQVIRUPDWLRQDQGLQQRYDWLRQH[SHULHQFHLQWKHUHWDLOVHFWRUDVZHOODVHFRPPHUFHDQGPDUNHWLQJH[SHULHQFH7KHFDOLEHURIFDQGLGDWHV
   LVRXWVWDQGLQJDQGZHH[SHFWWREHDEOHWRDQQRXQFHWKHKLUHRIDZRUOGFODVV&(2LQWKHFRPLQJZHHNVZKRZLOOOHDGWKH&RPSDQ\DQGFRQWLQXH
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   $VZHFRQWLQXHWRZRUNWRZDUGH[HFXWLQJRQRXUEXVLQHVVWUDQVIRUPDWLRQZHUHPDLQFRQILGHQWLQWKHVWUHQJWKRIRXUEUDQGDQGWKHIXWXUHRI%HG
   %DWK %H\RQG2XUIRFXVRQSXWWLQJWKHFXVWRPHUDWWKHFHQWHURIRXUWUDQVIRUPDWLRQVXSSRUWHGE\GDWDDQGLQVLJKWVLVLQWHQGHGWRUHVWRUH%HG
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   :KLOHRXUWHDPVDUHPRYLQJUDSLGO\WRDGGUHVVPDQ\QHDUWHUPRSSRUWXQLWLHVWRVWDELOL]HWKHEXVLQHVVDQGOD\WKHIRXQGDWLRQIRUVXVWDLQDEOH
   JURZWKWKHVHDUHMXVWWKHILUVWVWHSVLQWKH&RPSDQ\¶VRQJRLQJEXVLQHVVWUDQVIRUPDWLRQ0DU\ZLOOJLYHDPRUHIXOVRPHXSGDWHRQWKHEXVLQHVV
   DFWLYLWLHVVXSSRUWLQJRXUVWUDWHJLFSULRULWLHVGXULQJRXUQH[WHDUQLQJVFRQIHUHQFHFDOOVFKHGXOHGIRU:HGQHVGD\2FWREHU
   7KDQN\RXIRU\RXULQWHUHVWDQGVXSSRUWRI%HG%DWK %H\RQG
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%HG%DWK %H\RQG,QFDQGVXEVLGLDULHV WKH³&RPSDQ\´ LVDQRPQLFKDQQHOUHWDLOHUWKDWLVWKHWUXVWHGH[SHUWIRUWKHKRPHDQGKHDUWIHOWOLIHHYHQWV
7KH&RPSDQ\VHOOVDZLGHDVVRUWPHQWRIGRPHVWLFVPHUFKDQGLVHDQGKRPHIXUQLVKLQJV7KH&RPSDQ\DOVRSURYLGHVDYDULHW\RIWH[WLOHSURGXFWV
DPHQLWLHVDQGRWKHUJRRGVWRLQVWLWXWLRQDOFXVWRPHUVLQWKHKRVSLWDOLW\FUXLVHOLQHKHDOWKFDUHDQGRWKHULQGXVWULHV$GGLWLRQDOO\WKH&RPSDQ\LVDSDUWQHU
LQDMRLQWYHQWXUHZKLFKRSHUDWHVUHWDLOVWRUHVLQ0H[LFRXQGHUWKHQDPH%HG%DWK %H\RQG

7KH&RPSDQ\RSHUDWHVZHEVLWHVDWEHGEDWKDQGEH\RQGFRPEHGEDWKDQGEH\RQGFDZRUOGPDUNHWFRPEX\EX\EDE\FRPEX\EX\EDE\FD
FKULVWPDVWUHHVKRSVFRPDQGWKDWFRPKDUPRQGLVFRXQWFRPIDFHYDOXHVFRPRIDNLQGFRPRQHNLQJVODQHFRPSHUVRQDOL]DWLRQPDOOFRPGHFRULVWFRP
KDUERUOLQHQFRPDQGW\JURXSFRP


)RUZDUG/RRNLQJ6WDWHPHQWV
7KLVSUHVVUHOHDVHFRQWDLQVIRUZDUGORRNLQJVWDWHPHQWVLQFOXGLQJEXWQRWOLPLWHGWRDQWLFLSDWHGFRVWVDYLQJVDQGWKHDQWLFLSDWHGDQQRXQFHPHQWRIWKH
KLULQJRIDSHUPDQHQW&KLHI([HFXWLYH2IILFHU0DQ\RIWKHVHIRUZDUGORRNLQJVWDWHPHQWVFDQEHLGHQWLILHGE\XVHRIZRUGVVXFKDVPD\ZLOOH[SHFW
DQWLFLSDWHDSSUR[LPDWHHVWLPDWHDVVXPHFRQWLQXHPRGHOSURMHFWSODQJRDODQGVLPLODUZRUGVDQGSKUDVHV7KH&RPSDQ\¶VDFWXDOUHVXOWVDQGIXWXUH
ILQDQFLDOFRQGLWLRQPD\GLIIHUPDWHULDOO\IURPWKRVHH[SUHVVHGLQDQ\VXFKIRUZDUGORRNLQJVWDWHPHQWVDVDUHVXOWRIPDQ\IDFWRUV6XFKIDFWRUVLQFOXGH
ZLWKRXWOLPLWDWLRQJHQHUDOHFRQRPLFFRQGLWLRQVLQFOXGLQJWKHKRXVLQJPDUNHWDFKDOOHQJLQJRYHUDOOPDFURHFRQRPLFHQYLURQPHQWDQGUHODWHGFKDQJHVLQ
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       EDITED TRANSCRIPT
       BBBY - Q2 2019 Bed Bath & Beyond Inc Earnings Call

       EVENT DATE/TIME: OCTOBER 02, 2019 / 9:00PM GMT

       OVERVIEW:
       Co. reported 2Q19 net sales of approx. $2.7b and GAAP net loss per diluted share
       of $1.12. Expects FY19 net sales to be around $11.4b and net diluted EPS to be
       $2.08-2.13.




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PRESENTATION
Operator
Welcome to the Bed Bath & Beyond Second Quarter Fiscal 2019 Earnings Call. (Operator Instructions) Today's conference call is being recorded. A
rebroadcast of the conference call will be available beginning on Wednesday, October 2, 2019, at 8:00 p.m. Eastern Time through 8:00 p.m. Eastern
Time on Friday October 4, 2019. To access the rebroadcast, you may dial (888) 843-7419 with a passcode ID of 49010664.

At this time, I'd like to turn the conference call over to Janet Barth, Vice President, Investor Relations. Please go ahead.


Janet M. Barth - Bed Bath & Beyond Inc. - VP of IR
Thank you, Adrienne, and good afternoon, everyone. Before we begin, I want to remind you that our fiscal 2019 second quarter earnings release
and slide presentation can be found in the Investor Relations section of our website at www.bedbathandbeyond.com and as exhibits to the Form
8-K we filed just ahead of this call.

Joining me on our call today are Mary Winston, Bed Bath & Beyond's Interim Chief Executive Officer and member of the Board of Directors; and
Robyn D'Elia, our Chief Financial Officer and Treasurer.

Let me remind you that this conference call and the slides we'll refer to may contain forward-looking statements, including statements about or
references to our outlook regarding the company's performance, our internal model and our long-term objectives. All such statements are subject
to risks and uncertainties that could cause actual results to differ materially from what we say during the call today. Please refer to our most recent
periodic SEC filings for more detail on these risks and uncertainties, including the Risk Factors section in our annual report on Form 10-K. The
company undertakes no obligation to update or revise any forward-looking statements.



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Additionally, the information we will discuss today contains certain financial measures that exclude amounts or are subject to adjustments that
have the effect of excluding amounts that are included in the most directly comparable measure prepared in accordance with generally accepted
financial measures. For a reconciliation to the most comparable measures presented in accordance with GAAP, please refer to the table at the end
of our earnings release available on our website and included as an exhibit to our Form 8-K filed today.

Some highlights from the second quarter include: adjusted net earnings per diluted share of $0.34, excluding $1.46, which consists of severance
costs and an inventory write-down, which are related to the first wave of transformational initiatives as well as noncash store impairment charges;
a 20 basis point improvement in adjusted gross margin reflecting benefits of several ongoing margin enhancement initiatives; a $47 million
year-over-year reduction in adjusted SG&A expense reflecting some early benefits from our cost structure optimization efforts, including lower
payroll and occupancy expenses; a cash and investments balance of approximately $1 billion; and a decline in retail inventories of approximately
$492 million or approximately 18% at cost compared to the end of the prior year period, including a transformation-related inventory write-down
of approximately $194 million during the fiscal 2019 second quarter. In addition, today, the Board declared a quarterly dividend of $0.17 per share
that will be payable on January 14, 2020, to shareholders of record at the close of business on December 13, 2019.

I will now turn the call over to Mary.


Mary A. Winston - Bed Bath & Beyond Inc. - Interim CEO & Director
Thank you, Janet, and thank all of you for joining us this afternoon. On today's call, I'd like to provide an update on our actions supporting the
company's strategic near-term priorities in connection with our ongoing business transformation. Following my comments, I will turn the call over
to Robyn for a review of our financial and operational highlights of the quarter as well as our outlook for the year. Then we'll take your questions.

We feel good about the progress we are making against our 4 key near-term priorities, including stabilizing sales and driving top line growth;
resetting the cost structure; reviewing and optimizing the company's asset base, including the portfolio of retail banners; and refining our organization
structure. This work is being done with the support and guidance of the Business Transformation and Strategy Review Committee of the Board
and a highly engaged leadership team. I'm even more confident in the tremendous opportunity in front of us.

Today, I would like to provide an update on the progress we have made against each of our 4 priorities as well as what this means for our path
forward. Our goal is to ensure our customers see a meaningful difference this critical holiday season while laying the foundation for transforming
our company for long-term success. Last month, in a letter to shareholders, Chairman Patrick Gaston and I shared our enthusiasm for our progress
by providing a few specific examples of our near-term actions. I will now provide more details on those actions and several other initiatives we are
pursuing.

Our #1 priority is stabilizing our top line and optimizing our sales opportunities. A core component of our sales stabilization efforts and our
transformation overall is based on new data-driven insights that we are using to identify opportunities for improving our customer value proposition.
We are committed to providing our customers with value, an improved omni-channel shopping experience and a relevant and compelling
assortment of products. To deliver on this commitment, we are pursuing a multipronged approach that includes both near-term and long-term
strategies to create a noticeably different shopping experience and a differentiated value proposition for our customers.

First, we are already underway with a rapid refresh of almost 160 of our highest volume and most profitable Bed Bath & Beyond stores to improve
store traffic trends, drive sales and reset the store experience. We intend to create a more inviting and visually appealing shopping environment
through a series of physical improvements to high-traffic areas of these stores such as in entryways and at checkout. These basic improvements,
including installation of queue lines at checkout to display exciting impulse items, will be complemented with the rollout of new visual merchandising
elements at the front end of the store and upgraded associate and customer-facing technology tools to enhance our associates' ability to drive
sales and customer engagement. We expect most of the updates to be completed in advance of the 2019 holiday season.

Second, we plan to implement performance incentives for our store managers based on sales targets over the holiday period. To further drive
holiday sales, we are adding marketing and promotional support for Bed Bath & Beyond in the back half of the year. Included in this spend are
further investments in life-stage marketing and branding to reengage our customers as well as to drive foundational improvements in loyalty and

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shopping frequency. It also includes plans for special in-store and online promotional events during Thanksgiving week through Cyber Monday
as part of our efforts to aggressively target this important retail period.

Increasing enrollment in our at BEYOND+ membership program will be a critical focus during this time as well, including special promotional offers
to drive increased customer acquisition and engagement. Our BEYOND+ members today shop on average 2x more frequently than our average
nonmember customers and spend on average 4x as much.

We continue to optimize our overall marketing mix by reinvesting savings from our direct mail efforts into digital channels, including video, paid
social and display advertising, while ensuring customers who use coupons to shop continue to receive them. We're also improving our marketing
personalization efforts with more than 125 test campaigns launched so far. We have subsequently scaled about 1/4 of the campaigns to reach a
larger audience. Our new customer data platform allows for the faster launch of new personalized experiences while providing greater reach across
channels. Our personalization efforts in e-mail have reached more than 85% of our total e-mail subscribers within the past 5 months, and customers
receiving personalized e-mails are engaging at an average click-through rate of between 20% and 40%.

Similar to our approach with marketing personalization, we are forming a cross-functional agile team focused on driving customer acquisition and
sales within social media channels through rapid cycle testing of new content and targeting approaches. We are also in the process of rolling out
a new promotional framework developed around the retail holiday calendar and other relevant themes with events that are bigger, bolder and
beyond anything that we've done before. This includes significant changes to our holiday promotional plan to ensure our pricing on individual
offers is compelling; to promote better coordination and communication across all customer touch points, both in-store and online, in a much
more cohesive way; and to amplify our promotions to a greater extent than in previous years through additional investments in new communication
channels, such as digital video and radio, while we also expand on our use of our existing communication channels.

We continue to make strategic pricing decisions to deliver noticeable value to our customers. These strategies include refining our dynamic pricing
algorithms and online and in-store pricing actions to address customer price perceptions. The implementation of markdown optimization software
and processes is accelerating sell-through, resulting in less aged inventory and optimizing the profitability of our seasonal and fashion assortment.
We believe that more effective pricing will drive both top line growth and profit improvement. These near-term opportunities will provide the
foundation required to invest in and execute the shopping transformation consumers are demanding and allow us to reinvigorate our iconic brand.
Moreover, successful transformation will require significant enhancements to both our physical and digital channels to provide our customers a
more seamless omni-channel shopping experience.

To start, we will get better at meeting our customers where and how they want to shop and where and how they want to receive their purchases.
We continue to invest in our customer-facing digital channels while material improvements to the search and recommendations functionality of
our site and mobile app. We are also systematically working toward removing customer friction throughout the experience by streamlining the
checkout process and by adding estimated delivery dates to the product pages for items that we warehouse.

We also plan to convert our Reserve Online, Pick up In-Store service to Buy Online, Pick up In-Store to provide more convenience for customers to
quickly pick up items at the store and enable conveniences like curbside pickup or lockers. These positive changes are yielding favorable results
in our mobile app sales, which have grown over 90% year-over-year in the second quarter.

In addition to the store refresh initiative I just spoke about, we're developing a multiyear plan to upgrade and refresh a majority of our Bed Bath &
Beyond locations. To help execute these plans, we are leveraging some of our other initiatives, such as our fleet optimization initiative and learnings
from our next-generation lab stores. We will also incorporate insights from consumer research along with new visual and branding standards as
well as technology upgrades. We will have a series of store experiences that we believe will resonate with our customers and enable them to interact
with our brand from wherever is most convenient for them. Our store renovation plans are more substantial than anything we've done in the past,
and we believe this plan will deliver noticeable change for our customers. We expect to begin the first wave of store renovations in early fiscal 2020.

Our second near-term priority is to reset our cost structure to better align with the current state of the business. We believe there are several
hundred million dollars of cost savings opportunity over the long term embedded in our broader transformation efforts. Among these actions
already taken, the initiation -- first, the initiation of a comprehensive real estate optimization effort, which commenced about 9 months ago. As


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we have previously discussed, we are working with a specialized real estate consultant to renegotiate all leases, including those with longer-dated
terms. In many cases, we have been able to achieve more favorable lease terms and landlord contributions. Occupancy savings from these efforts
are expected to benefit fiscal 2019 and beyond. Next, we continue to review our overhead costs to drive greater operational efficiencies. We remain
committed to doing what is necessary to ensure we have the right structure and resources for the business we are managing today and to position
Bed Bath & Beyond for a bright future.

Although our review is ongoing and more changes are necessary, to date, we have taken the following actions: first, we completed a workforce
reduction, which affected approximately 7% of our corporate staff, including executive officers, vice presidents, directors, managers and professional
staff; second, we have realigned the organization structure to better support the transformation underway, including changes in reporting structure
and responsibilities for some of our senior leaders; third, we are in the process of outsourcing certain transaction processing functions within our
merchandising and finance areas to a third party, which is expected to result in the elimination of nearly 80 positions later in the calendar year.
These actions, including other changes in our senior leadership structure combined with our real estate optimization savings, will generate cost
savings of approximately $30 million from -- for fiscal 2019 and just over $50 million on an annualized basis.

As we work to optimize our cost structure for the longer term, we are casting a wider net, including an assessment of opportunities within our
proprietary and private label brands as well as our supply chain and global sourcing capabilities. To accelerate this initiative, we are actively engaging
with the industry's leading sourcing firms. As we implement multiple initiatives over the next several months, we see opportunity to achieve
longer-term savings in cost of goods in the range of a few hundred million dollars.

Private label branding provides a lever to not only differentiate our customer value proposition but also to optimize our margin structure through
improved direct import and direct sourcing practices. Today, our private label penetration within Bed Bath & Beyond is well below our competitors
with a smaller percentage that is directly sourced, and therefore we have significant opportunity for margin improvement. One of our key focus
areas is increasing the overall penetration of our portfolio of private label brands, such as Wamsutta, SALT, ORG, Bee & Willow, Artisanal Kitchen
Supply and Olivia & Oliver, as well as our key preferred national brands such as UGG, Therapedic and Brookstone.

We are also in the process of launching 2 additional private label decorative home furnishing brands: One Kings Lane Open House and Marmalade.
These are part of our previously communicated plans to introduce 6 in-house brands during 2019 and 2020. Our initial launch occurred last spring
with the introduction of Bee & Willow.

Our third near-term priority is to review and optimize our asset base. As we mentioned in the recent shareholder letter, we have plans to aggressively
reduce up to $1 billion of inventory at retail over the next 18 months. As a result of this decision, we took a $194 million inventory write-down in
the second quarter. We believe this aggressive disposition of inventory will enable us to more quickly reset inventory levels in both our Bed Bath
& Beyond stores and distribution centers to allow for a faster refresh of our assortment as well as to enable us to refocus store labor activity to
better support our customers and drive sales. In the short term, more than approximately $350 million of inventory at retail will be removed from
our stores before the 2019 holiday season. This will be accomplished with a series of markdowns and clearance events as well as with the assistance
of an independent liquidator, all to be managed thoughtfully to prevent cannibalization of sales.

We have also completed our initial assessment with a fleet optimization program for all Bed Bath & Beyond stores to create a better balance between
our physical and digital presence within the markets we serve. With the assistance of a third party, we have analyzed each U.S. stores' performance,
profitability, geographic location and customer demographics to understand how best to position our store locations in various markets across
the country. While we previously communicated an estimate of 40 total store closures in fiscal 2019 across all concepts, our fleet optimization work
has resulted in the decision to close approximately 60 total stores in fiscal 2019 including approximately 40 Bed Bath & Beyond stores and 20 other
concept stores. With this action, we are increasing the profitability of our remaining portfolio and believe that our remaining fleet will benefit from
our renewed focus on driving traffic and operating efficiency.

Through this fleet optimization project, we have refined our internal processes for evaluating our stores' performance, which will benefit us going
forward, especially as we look to capitalize on our heavy lease expiration cadence where we have more than 400 leases across all concepts expiring
over the next couple of years. We are also evaluating opportunities for sale leaseback transactions, which could generate significant cash for the



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company. We have nearly 4 million square feet of owned real estate, including both retail and nonretail buildings, as well as a little over half a
million square feet of land. We are currently evaluating several offers from interested parties.

While our near-term priorities are primarily focused on Bed Bath & Beyond, a review of the strategic alignment of all the other business concepts
is well underway. As previously announced, we are working with outside advisers, including Goldman Sachs, to assess how to better realign and
realize greater value from certain of these assets. As part of our strategic review, we are evaluating a range of options, including outside interest
in several of our brands. At the same time, we have acted to close down one of our least productive e-commerce businesses. While we have made
no final decisions and cannot make any assurances, we believe significant value can be unlocked from potential sale leaseback and business concept
transactions.

Our fourth and final near-term priority is to take a fresh look at our organization structure. It is critically important that as we transform Bed Bath
& Beyond, we ensure we have not only the right talent and expertise but also the right team structures in place to facilitate a connected and efficient
organization. During this interim period, we have realigned the reporting structure of the organization such that all other business concepts now
report into one leader. This is a benefit in 2 ways: first, this enables us to streamline and expedite our strategic review of these businesses; and
second, it allows the rest of our senior leaders to focus on transforming the Bed Bath & Beyond business.

As you heard from my update today, we are making good progress across multiple fronts. Our teams are operating with urgency and focus, and
I'm grateful for their hard work, commitment and support. Together, the Board and the management team are challenging our current value
proposition and operating model while also maintaining the focus on delighting our customers and delivering long-term value for shareholders.

Before closing, I'd like to comment briefly on the second quarter results and our outlook for the full year. Despite the ongoing challenges on our
top line performance, we are pleased to have delivered adjusted net earnings per diluted share of $0.34 cents this quarter, reflecting the relentless
effort of our teams and our progress in driving the company's transformation efforts. As Robyn will discuss in a moment, we are monitoring the
tariff situation closely and working with our vendor partners to limit the impact on our business and customers. As this situation is still evolving,
our financial guidance does not include any incremental impact from the Lists 4A and 4B tariffs or the tariff increase to 30% from List 3 items. We
continue to expect our fiscal 2019 financial results to be in line with our most recent guidance, excluding incremental tariffs.

I'll now turn the call over to Robyn to review our quarterly financials and our outlook for the year.


Robyn M. D'Elia - Bed Bath & Beyond Inc. - CFO & Treasurer
Thank you, Mary. On a GAAP basis, we reported a net loss per diluted share of $1.12 for the second quarter of fiscal 2019. This loss includes charges
related to the first wave of transformation initiatives, including severance costs of approximately $23 million associated with our corporate workforce
reduction and our decision to outsource certain transaction processing functions within the business and an inventory write-down of approximately
$194 million associated with our plans to aggressively reduce up to $1 billion of inventory at retail over the next 18 months. In addition, we had a
noncash charge of approximately $28 million for the impairment of certain store-level assets. Excluding these charges, which aggregate to $1.46,
our net earnings per diluted share was $0.34.

My remarks today on non-GAAP results exclude the impact of these transformation-related expenses and other charges to better represent the
year-over-year performance of the business during the quarter.

Turning now to a review of our second quarter sales results. Our net sales in the quarter were approximately $2.7 billion, a decrease of approximately
7.3% from the second quarter of last year. Comp sales for the quarter decreased approximately 6.7% and reflected a decrease in the number of
transactions in stores partially offset by an increase in the average transaction amount. On a directional basis, comp sales from our stores declined
in the high single-digit percentage range while comp sales from our customer-facing digital channels declined slightly.

On an adjusted basis, gross margin for the quarter was approximately 33.9% of net sales as compared to approximately 33.7% in the second quarter
of last year. This 20 basis point improvement reflects the progress of our margin enhancement initiatives. In order of magnitude, this improvement
as a percentage of net sales was primarily due to decreases in coupon expense and net direct-to-customer shipping expense partially offset by a

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decrease in merchandise margin. The decrease in coupon expense was the result of a lower number of redemptions partially offset by a higher
average coupon amount.

In addition, as we have previously described, our BEYOND+ membership program has impacted and will continue to unfavorably impact our gross
margin as the rate of member enrollment increases. We estimate the impact from BEYOND+ on our gross margin was approximately 50 basis points
for the second quarter this year compared to 40 basis points for the second quarter last year. As a reminder, the consumer-focused benefits of this
program, including 20% off entire purchase and free shipping, are realized immediately upon sale while the membership fee is currently amortized
over the 1-year membership period. We currently have approximately 1.3 million BEYOND+ members, representing a modest sequential increase
over the membership level at the end of the first quarter.

We continue to evaluate the learnings from this program. And as Mary referenced earlier, the data shows that our BEYOND+ members shop 2x
more frequently than our average nonmember customers and spend on average 4x as much. The customer insights we have gained also help us
direct product offers and content to these loyal customers through marketing personalization. As Mary also mentioned, we are planning some
BEYOND+ specific promotional offers around the holiday to increase acquisition and improve member engagement.

Adjusted SG&A expense for the quarter was approximately $858 million or 31.6% of net sales as compared to approximately $905 million or 30.8%
of net sales in the prior year period. The year-over-year $47 million decrease reflects some early benefits from our cost structure optimization efforts,
including lower payroll and payroll-related and occupancy expenses. As a percentage of net sales, the 80 basis point increase was primarily due
to the pronounced effect of our fixed costs, such as technology-related expenses, including depreciation and occupancy on a lower sales base.

On an adjusted basis, our effective tax rate was approximately 9% and includes approximately $5.3 million of net after-tax benefit or about $0.04
per diluted share due to distinct events occurring in the quarter. As a result of the lower pretax earnings base in the second quarter, these net
after-tax benefits result in a greater beneficial impact on the effective tax rate. In the prior year period, our adjusted effective tax rate was approximately
24.4% and included net after-tax cost of approximately $1.8 million due to distinct events occurring in that quarter.

Now looking to our balance sheet. We ended the quarter with approximately $1 billion in cash and investments. Retail inventories at the end of
the quarter were approximately $2.3 billion at cost, which represents a reduction of approximately $492 million or approximately 18% at cost
compared to the end of the prior year period, including an inventory write-down of approximately $194 million during the fiscal 2019 second
quarter.

Capital expenditures for the first 6 months were approximately $125 million with about 50% related to technology projects, primarily including
investments in our digital capabilities, analytics and logistics. The remaining CapEx was primarily related to new store openings and maintenance
of existing stores and the remodeling of 75 stores, the bulk of which were next-generation lab stores. During the second quarter, we closed 2 Bed
Bath & Beyond stores. Share repurchases under our current $2.5 billion share repurchase program were approximately $16 million in the quarter,
representing about 1.4 million shares. We plan to continue our share repurchase program throughout the remainder of the fiscal year subject to
business and market conditions.

Our capital allocation strategy is actively under review as the Board and management team evaluate future capital investments required to progress
the company's ongoing business transformation as well as potential uses of funds generated by any potential asset sales or further monetization
of our balance sheet including sale leaseback transactions. And finally, our Board of Directors today declared a quarterly dividend of $0.17 per share
to be paid on January 14, 2020, to shareholders of record as of December 13, 2019.

I'll wrap up my remarks in the second quarter by acknowledging that while we have more work to do, we are making good progress toward
achieving our objectives.

Before turning to guidance, I'd like to make a few comments about tariffs. Our merchandising and pricing teams have been able to execute
appropriate strategies to minimize the unfavorable impact from tariffs relating to items on Lists 1 through 3 at the current 25% rate. These strategies
primarily include negotiating with our vendor partners and adjusting retail prices when appropriate. Keep in mind that Bed Bath & Beyond currently
sources the vast majority of its products domestically, and therefore we are not directly subject to these tariff changes but only to the degree that


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we cannot mitigate any potential pass-through from our vendor partners. An estimation of the Lists 1 through 3 tariff impact was contemplated
in our most recent financial guidance.

Subsequently, we have been evaluating the potential incremental impact from the move to 30% on List 3 and the proposed Lists 4A and 4B tariff,
which affects a significantly larger part of our assortment than the prior tariffs. As you know, List 4A went into effect on September 1, and List 4B
is expected to be implemented on December 15. So far, we have not seen any material impact from the implementation of List 4 tariffs.

At this time, we have not included an estimate for an incremental tariff impact in our fiscal 2019 guidance. However, we believe the incremental
potential impact could be up to $0.10, and that is assuming we can continue to execute some mitigation strategies. We are monitoring the situation
closely and working with our vendor partners to limit the impact to our business and customers.

Now turning to guidance. Fiscal 2019 full year results continue to be in line with our most recent guidance and assumes our current investment
plans to drive top line performance in the back half as well as our comp sales trends year-to-date and excludes goodwill and other impairments,
severance costs, shareholder activity costs, the inventory write-down and any incremental impact from tariffs. Fiscal 2019 full year net sales are
estimated to be around $11.4 billion, and net earnings per diluted share are estimated to be between $2.08 and $2.13.

As we look to the back half of the year, I would like to point out a few items. First, our third quarter ends on November 30, the Saturday of Thanksgiving
weekend. Therefore, our third quarter results this year will reflect only the Thanksgiving holiday weekend, including Black Friday, while our fiscal
third quarter results last year included Thanksgiving, Black Friday, Cyber Monday and that whole week. Second, as Mary noted, we are adding
marketing and promotional spend for Bed Bath & Beyond in the back half, with the majority of this expense occurring late in the third quarter, with
some of the anticipated benefit to sales occurring in the fourth quarter. Lastly, our third quarter last year benefited from a $28 million gain on the
sale of a building, which represented about $0.16.

Taking this all into consideration, we expect fiscal 2019 third quarter adjusted net earnings per diluted share to be relatively flat versus the prior
year period which, on an adjusted basis, was about $0.02 per diluted share. The remainder of our full year net earnings per diluted share is expected
to be earned in the fourth quarter.

Finally, capital expenditures for the fiscal 2019 continue to be planned at approximately $350 million to $375 million with about 50% related to
technology projects as well as the spend associated with our rapid store refresh program and investments in warehouses for e-commerce distribution
and personalized product.

I will now turn the call back over to Mary.


Mary A. Winston - Bed Bath & Beyond Inc. - Interim CEO & Director
Thank you, Robyn. During our call, we have provided a lot of transparency around the things that we are doing to advance our strategic priorities,
including plans to aggressively reduce up to $1 billion of inventory at retail over the next 18 months, including the removal of aged inventory from
our stores before the 2019 holiday season to refresh our assortment and support top line performance; the initiation of a rapid store refresh of
nearly 160 of our highest volume and most profitable Bed Bath & Beyond stores to improve the in-store shopping experience; the completion of
our initial fleet optimization analysis for Bed Bath & Beyond and the decision to close 40 Bed Bath & Beyond stores and 20 other concept stores
this year; our decision to close down one of our least productive e-commerce businesses; and finally, the ongoing evaluation of our business
concepts and our real estate holdings.

In summary, as we continue to work toward executing on our business transformation, we remain confident in the strength of our company and
the future of Bed Bath & Beyond. Our teams are moving rapidly to address many near-term opportunities to stabilize the business and lay the
foundation for sustainable growth. I want to thank all of our associates for their ongoing dedication and support of the transformation efforts
underway.




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Before turning to Q&A, let me say a few words about our CEO search. As we said in the recent shareholder letter, substantial progress has been
made toward identifying the company's next permanent CEO. We remain on track and still expect to make an announcement soon.

Now we can open the call for questions.




QUESTIONS AND ANSWERS
Operator
(Operator Instructions) And our first question comes from Seth Basham from Wedbush.


Seth Mckain Basham - Wedbush Securities Inc., Research Division - MD Of Equity Research
My question is around the outlook for holidays. You guys are shifting a bunch of marketing dollars and promotional dollars to the holiday period.
Can you first quantify how much you're shifting and how much you're adding? And secondly, what type of improvement do you expect in those
sales as well as margin over this period?


Robyn M. D'Elia - Bed Bath & Beyond Inc. - CFO & Treasurer
Sure. Thanks, Seth. So as you've mentioned, we are shifting dollars into the back half for promotional and marketing support. Those dollars are
being generated from ongoing transformation initiatives as well as the benefits that Mary mentioned in our cost structure savings initiatives. And
those dollars that we're planning to invest will be spent on promotional events during Thanksgiving week through Cyber Monday as well as driving
enrollment in BEYOND+ and investing in new communication channels, such as digital, video and radio. In terms of quantifying it, we've built it
all in for the model, and those -- the reinvestment of those dollars is allowing us to maintain our top line at around $11.4 billion as well as maintain
our bottom line within the previously guided range.


Seth Mckain Basham - Wedbush Securities Inc., Research Division - MD Of Equity Research
That's helpful. And then I have a follow-up as it relates to your inventory. You guys are quickly reducing your inventory to get to your goal of $1
billion reduction at retail. Should we expect any more markdowns or, I should say, write-downs to reach that goal over the next 18 months?


Mary A. Winston - Bed Bath & Beyond Inc. - Interim CEO & Director
This is Mary. No, I think we believe that where we are with the write-down we're taking this quarter covers the full $1 billion of inventory. So now
our work will just be to accelerate the process and actually getting it out of our stores.


Operator
And our next question comes from Brad Thomas from KeyBanc Capital Markets.


Bradley Bingham Thomas - KeyBanc Capital Markets Inc., Research Division - Director and Equity Research Analyst
First, I wanted to ask about some of the strategic review as you analyze some of the different business units and some of the assets that you may
be able to sell, like some other real estate. I guess is there any ability to quantify for us the kind of bids or interest level that may be out there and
anymore ability to talk about timing with which you might be able to address some of this?


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Mary A. Winston - Bed Bath & Beyond Inc. - Interim CEO & Director
This is Mary. Thanks for the question, Brad. I would say, at this point, no, we're not in a position to put specific numbers to the businesses and all
that. I will say we are very actively engaged in the process. So -- and we've had a number of inbound interest on some of our portfolio companies.
And so we're taking a look at those. We're evaluating that. We're going through the normal process that you would go through to do that. And so
when we have something to report that actually turns into a potential transaction, we'll certainly come forward with that. But at this point, not
knowing how many things may go forward and all of that, it's hard for us to put any number on it.

And in terms of the other assets, the real estate, I think we talked about that from a square footage standpoint as the combination of retail and
nonretail real estate. So we're looking at some inbounds there as well. And so we'll have a sense of that, I would say, in the next quarter or 2 as we
move through that process.


Bradley Bingham Thomas - KeyBanc Capital Markets Inc., Research Division - Director and Equity Research Analyst
That's helpful, Mary. And if I could ask a follow-up around fundamentals. You're clearly making some progress on gross margin and on expenses.
But I guess as I look at same-store sales, a difficult first half of the year. Can you talk a little bit of how you're thinking about same-store sales
progressing through the balance of the year and kind of what you've been seeing so far in 3Q?


Robyn M. D'Elia - Bed Bath & Beyond Inc. - CFO & Treasurer
Yes. So -- oh, go ahead, I'm sorry.


Mary A. Winston - Bed Bath & Beyond Inc. - Interim CEO & Director
I'll go first, and then I'll let Robyn go, I'll just make a couple of quick comments. I think you're right in your comments about what the trends you're
currently seeing. It has been a rough first half of the year. And as we've said early on, we expect sales to start to stabilize and to see better trends
in the back half of the year. For the full year, we do still expect to be comping down though. And we've talked pretty extensively in the prepared
remarks about all of the initiatives that we have underway to help drive sales. I'll let Robyn jump in and cover some of that.


Robyn M. D'Elia - Bed Bath & Beyond Inc. - CFO & Treasurer
So just to cover your question on how we're performing third quarter to-date, we are still declining from a comp perspective but at a lower rate
than what we've experienced through the second quarter.


Operator
And our next question comes from Bobby Griffin from Raymond James.


Robert Kenneth Griffin - Raymond James & Associates, Inc., Research Division - Senior Research Associate
I was first hoping to dive a little bit into the gross margin aspect. Can you maybe give us a little color, by concept or maybe month by month, the
progress you're making in improving the margin structure? And then basically the same question on the SG&A side, too, if we can get some color
around, month-over-month, how it's improved and where the bigger opportunities are for the remainder of the year.




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Robyn M. D'Elia - Bed Bath & Beyond Inc. - CFO & Treasurer
Sure. Just to address your point on breaking out the components by concept, that is not historically been our reporting cadence to break it out at
that granular level. But from a gross margin perspective, we are pleased that this quarter, we have favorable trends, 20 basis points improvement.
That is a significant shift from what we've been experiencing from a trending perspective. And it's driven by benefits in coupons and net
direct-to-customer shipping with some offset in merchandise margin. But that merchandise margin, which I'm talking about on a consolidated
basis, the trend in that has been improving due to some of the ongoing initiatives that we have in place. So for some select product, we've actually
moved to direct importing and gained efficiencies from our own supply chain, which has benefited us. We've also been actively engaging in vendor
negotiations around our merchandise. And then we've also continued with some strategic pricing initiatives, which has helped benefit our margin.
And we have more to come.


Robert Kenneth Griffin - Raymond James & Associates, Inc., Research Division - Senior Research Associate
I guess I was maybe looking on the 20 basis points for the quarter, did it exit the quarter at a stronger rate than that where we can see that it's
improving at a faster rate and we're on pace for greater than 20 exiting the quarter. I guess just on a consolidated basis was what I was asking.


Robyn M. D'Elia - Bed Bath & Beyond Inc. - CFO & Treasurer
Yes. And I guess the way I'm viewing is quarter-to-quarter. I mean last quarter, we were down 50 basis points. It was unfavorable. And now we've
trended positively this quarter by 20, so we are moving in a positive momentum.


Robert Kenneth Griffin - Raymond James & Associates, Inc., Research Division - Senior Research Associate
Okay. And then on the store closures, can you just tell us about the timing of the 60 all weighted in the fourth quarter? How should we spread
them out in our model?


Robyn M. D'Elia - Bed Bath & Beyond Inc. - CFO & Treasurer
They are weighted towards the fourth quarter, which is the typical timing of when we negotiate our leases.


Operator
And our next question comes from Carla Casella from JPMorgan.


Sarah Clark - JP Morgan Chase & Co, Research Division - High Yield Credit Research Analyst
This is Sarah Clark on for Carla Casella. I was just wondering if you would consider buying back bonds in the market and if you had any update on
a target leverage figure.


Mary A. Winston - Bed Bath & Beyond Inc. - Interim CEO & Director
Yes. We don't have an update at this point on a target leverage figure. We are actively discussing with the Board our overall capital allocation
approach, and so we will be sorting that out relatively soon. As you know, we have a number of moving pieces. I think right now, our capital
allocation priorities continue to be what they have been given the amount of transformation effort that we have underway. Certainly, investing
back in the business to drive those initiatives and get sales moving in the right direction and improve the business performance is a top priority.
But we're also looking at the other ways to return funds to shareholders. So continuing our dividend program, the share buybacks that Robyn
spoke about and buying back our debt is on the list as well. So we'll -- that will be a consideration as well.

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Operator
And our next question comes from Simeon Gutman from Morgan Stanley.


Simeon Ari Gutman - Morgan Stanley, Research Division - Executive Director
My first question, back on some of the inventory and the destocking. I know you said an 18-month process, can you tell us maybe what inning is
it in from, I guess, a store perspective? And the impact that it's having as the customer shops, can you give us some sense? Are you seeing a
basket-size change? Are you seeing conversion then go up online if they're not finding something in the store? And then I have one follow-up on
the gross margin.


Robyn M. D'Elia - Bed Bath & Beyond Inc. - CFO & Treasurer
From a timing perspective, in the short term, we are planning that -- to have about $350 million of the inventory out of the stores before holiday.
We are in the early innings of starting that process and of removing the inventory from the physical store locations. As we're working through that,
we're mindful not to cannibalize sales during this holiday period.


Simeon Ari Gutman - Morgan Stanley, Research Division - Executive Director
Okay. I guess the follow-up on the gross margin, I apologize because I wasn't on the beginning part of the call. So you took, I guess, this write-down
now, and you're suggesting we add it back, and now you're starting to clear out some of this inventory. And so can you just talk about some of the
mechanics of this on the gross margin, how we should think about it?


Robyn M. D'Elia - Bed Bath & Beyond Inc. - CFO & Treasurer
Sure. So for the quarter, we took a charge of $194 million. As that inventory clears through, any markdowns associated with that inventory has
already been taken from a P&L perspective. But we also have inventory that we've been focused on from an assortment optimization perspective
included in this write-down that we'll have to work through the process over time, which will take us about 18 months or up to 18 months to clear
through that merchandise and be able to present a crisper, fresher point of view from a customer perspective.


Operator
And our next question comes from Michael Lasser from UBS.


Atul Maheswari - UBS Investment Bank, Research Division - Associate
This is Atul Maheswari on for Michael Lasser. So it seems like your digital growth took a step down this quarter. What drove this deceleration? And
what plans do you have to reaccelerate top line and reaccelerate online sales? And then along those lines, what have you baked in for digital growth
in the back half of the year?


Mary A. Winston - Bed Bath & Beyond Inc. - Interim CEO & Director
This is Mary. I'll take the first part of your question about our digital business. So your observation is correct, we were slightly down on that business
this quarter. And I would say the biggest impact is somewhat self-inflicted. We're still suffering the ramifications of decisions that were made earlier
where we were focused on profitability at the expense of sales. So for the online business, we did things like eliminate some of the SKUs online


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because of their level of profitability. We minimized -- we've put a minimum order quantity on some of the online sales. We increased our free
shipping threshold. So collectively, all those things have put pressure on that business.

What we're trying to do about that is we're reversing many of those decisions. Again, our top priority now is to focus on sales and to manage the
cost line through all the other initiatives that we've talked about. And so we are reinvesting in our online. We're investing in improvements in our
search and recommendations capabilities on the website. We're streamlining the checkout process. We're about to be rolling out our BOPIS, Buy
Online, Pick up In-Store. So we're doing a number of things to change the tide and change the direction of that and move -- start to move that in
the right direction. And what was your second question?


Atul Maheswari - UBS Investment Bank, Research Division - Associate
So basically, what have you baked in for digital growth in the back half of the year.


Robyn M. D'Elia - Bed Bath & Beyond Inc. - CFO & Treasurer
So in terms of the back half, to get to the range of around $11.4 billion, it does imply that there's less negative -- I guess less negative comps from
a back half perspective, but we don't break that out by channel explicitly.


Operator
And your next question comes from Jonathan Matuszewski from Jefferies.


Jonathan Richard Matuszewski - Jefferies LLC, Research Division - Equity Analyst
First one, just to follow up on e-comm, you alluded to closing down one of your least productive digital businesses. So maybe just give us some
more color there in terms of timing, rationale and impact to sales and profitability. And then I had just a quick follow-up.


Mary A. Winston - Bed Bath & Beyond Inc. - Interim CEO & Director
Okay. On that particular business, the timing is the end of this month. It is one of our smallest businesses, so the impact on the financial performance
overall is immaterial. It's a business that specializes in selling specialized and unique fashion and home products. And again, it's one of our smallest
e-commerce businesses.


Jonathan Richard Matuszewski - Jefferies LLC, Research Division - Equity Analyst
Okay. Great. And then just a follow-up question on 4Q. So based on the revised annual guide, it looks like we'd be looking for around 3 quarters of
annual earnings coming in 4Q. And that's a bit above kind of what's been earned in recent years. So could you just confirm, is it the new promotional
framework during the holiday season that you think is going to be driving the earnings growth? And then just clarify whether that implied 4Q
guide includes things like potential sale leaseback proceeds.


Robyn M. D'Elia - Bed Bath & Beyond Inc. - CFO & Treasurer
So we do have a significant amount of earnings included in the fourth quarter, one, due to the timing shift of the holiday period. So the third quarter
of this year ends on the Saturday right after Thanksgiving whereas last year, it had included Thanksgiving, Black Friday and a full week following
that. So that's one item, that the fourth quarter now picks up that initial week following Thanksgiving. Additionally, with the incremental marketing
and promotional spend that we're adding for the year, if you -- you may recall that from the accounting rules, once you send an event out, you


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immediately have to expense that event in full even though the benefits of that event may spread over a period of time. And so it will impact third
quarter more heavily and benefit fourth quarter because you'll have some sales spillover into that period. And as far as considering proceeds from
sale leaseback, that is not contemplated in the model.


Operator
And our next question comes from Oliver Wintermantel from Evercore ISI.


Oliver Wintermantel - Evercore ISI Institutional Equities, Research Division - MD & Fundamental Research Analyst
I just wanted to clarify, when you said that the inventory fell through, that should not have a gross margin impact towards the rest of the year. So
I just want to clarify that. And then my other question on gross margins is like the shipping cost seemed to be a benefit in the second quarter. So
was that driven by lower sales and that's why shipping costs were better? And then now looking into the back end of the year, do you expect that
your sales are going to improve throughout the year? And the BEYOND+ membership promotions that you have during the holiday season, should
we expect gross margins to be down because of shipping costs? Or should that have a negative impact?


Robyn M. D'Elia - Bed Bath & Beyond Inc. - CFO & Treasurer
So that was a multipart question. I'm going to start with the first one, and I may have to ask you to repeat a couple of your sub-bullet points. So on
the inventory, you're asking about the margin impact as we take out the merchandise. Again, we're mindful not to cannibalize sales during the
holiday period. And we can, using a third-party liquidator, remove that merchandise from our stores but not have it out in the market competing
against ourselves or be liquidating it in a heavy fashion during this time frame. And then I think you asked about shipping expense. Yes, we've seen
shipping as a favorable driver as a percent of sales benefiting gross margin in this quarter. And I'm sorry, if you could repeat your...


Oliver Wintermantel - Evercore ISI Institutional Equities, Research Division - MD & Fundamental Research Analyst
Yes. The question was just with your improving sales in the back end of the year and the BEYOND+ membership promotions, should we expect
then gross margins to be negatively impacted because of shipping costs in the second half?


Robyn M. D'Elia - Bed Bath & Beyond Inc. - CFO & Treasurer
Assuming a significant ramp-up in BEYOND+, yes, we've been calling out how that's impacted margin because they do have free shipping associated
with increased enrollment, but they also spend more frequently and spend heavier when they're buying from us than the average customer.


Operator
And our next question comes from Curtis Nagle from Bank of America.


Curtis Smyser Nagle - BofA Merrill Lynch, Research Division - VP
Maybe just a little bit more detail on the progress of the CEO search, perhaps how many candidates you're down to, what does soon mean. And
are you still within "weeks" as you guys have laid out in your shareholder letter?




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Mary A. Winston - Bed Bath & Beyond Inc. - Interim CEO & Director
So to answer the last part of your question first, yes, we are definitely down to the final weeks. I'm not going to get into the details of the number
of candidates, but we have been very actively focused on the search. We've got a great search firm working with us. We've had great interest in
the position, so we've had quite a number of strong candidates. As I think we had mentioned before, we're looking for somebody with retail
transformation experience, innovation, online and digital experience, marketing experience. So we're looking for all of the things that we would
need to really continue the transformation of the business. And we feel good about where we are in the process, and so we expect to be naming
a permanent CEO soon.


Curtis Smyser Nagle - BofA Merrill Lynch, Research Division - VP
Okay. Fair enough. And then just in terms of 3Q, thinking about the timing and the calendar shift and when holidays hit, is that going to impact
how you guys report comps? Or is that going to be adjusted for?


Robyn M. D'Elia - Bed Bath & Beyond Inc. - CFO & Treasurer
Our comps will be based on the same period in the prior year, so we wouldn't adjust for it.


Operator
And our next question comes from Zach Fadem from Wells Fargo.


Zachary Robert Fadem - Wells Fargo Securities, LLC, Research Division - Senior Analyst
Again, on the gross margin, you mentioned the ramp in BEYOND+. But I believe you said the coupon had a less negative impact from fewer
redemptions. So curious if you could speak to that in a little more detail whether the lower coupon usage was self-inflicted and how we should
think about the coupon going forward as its impact to sales and gross margin.


Robyn M. D'Elia - Bed Bath & Beyond Inc. - CFO & Treasurer
Sure. So coupon -- the decrease in the redemptions of coupon was, I would say, not self-inflicted. We had as many coupons distributed this quarter
this year versus last year, and we will continue to issue coupons to customers who utilize them and who want them when they're shopping with
us.


Zachary Robert Fadem - Wells Fargo Securities, LLC, Research Division - Senior Analyst
Okay. Understood. And then on the store manager incentives, maybe you could talk a little bit more about the metrics you'll be tracking and
rewarding. And when you were evaluating whether to move forward with this plan, curious to hear whether you piloted the program in any of
your stores and maybe you can talk about your findings there and any sales or margin lift per store that we should anticipate.


Mary A. Winston - Bed Bath & Beyond Inc. - Interim CEO & Director
So we don't have those details quite handy. And no, we did not pilot it separately. And this is basically a onetime program that's targeted toward
driving sales over the holiday period. This is a really critical period for us. We're doing a lot of things to bring people into the stores, and so we also
want to incentivize our sales managers to be thinking about selling and driving sales as they're in the stores. And it's also good for morale in a time
of change in the stores and sales comping down up to this point, so it will give them the opportunity to participate in driving incremental sales.



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 OCTOBER 02, 2019 / 9:00PM, BBBY - Q2 2019 Bed Bath & Beyond Inc Earnings Call


Operator
And our last question will come from Daniel Hofkin from William Blair.


Daniel Harry Hofkin - William Blair & Company L.L.C., Research Division - Analyst
Just a quick question about general fundamentals and then a quick -- just a couple of quick housekeeping questions. So you talked about efforts
to drive more sales in the back half and to the holidays. Can you just talk about what sort of impact you expect on profit margins or profitability
from that and how that could kind of build over time? Obviously, driving top line is important but in terms of the trade-up between sales and
margins and then, like I said, I have a couple of quick housekeeping questions after that.


Mary A. Winston - Bed Bath & Beyond Inc. - Interim CEO & Director
So let me just start, and then I'm going to turn it over to Robyn to maybe talk at a little bit more detailed level. But even as we said in the fourth
quarter, we are focused on driving -- I mean the first quarter call, we're focused on driving top line, but we're focused on maintaining profitability
as well. So we believe, given the number of levers we have to pull and the number of opportunities we have in the business, that we can drive sales
and we may be on promotion, of course, through the holiday season and be doing more advertising. But we think we have other levers to pull to
control the cost structure to maintain profitability.


Robyn M. D'Elia - Bed Bath & Beyond Inc. - CFO & Treasurer
And considering that and the sales stabilization initiatives that we have is what led us to maintaining our guidance of the sales around $11.4 billion
and then EPS between $2.08 and $2.13.


Daniel Harry Hofkin - William Blair & Company L.L.C., Research Division - Analyst
Okay. And then I guess a couple of things. A couple of adjustments you guys have made, I guess, in this release and then in the prior quarter, too.
You took what looks like a sizable reduction in your sales return liability in the last couple of quarters relative to last year, like more than 200 basis
points by our math as a percentage of sales. Just wondering what would have driven that and that large reduction. And then the other question
is just on the size of the inventory adjustment this quarter in terms of like adding it all back to adjusted earnings.


Robyn M. D'Elia - Bed Bath & Beyond Inc. - CFO & Treasurer
So from a sales return perspective, that reserve is definitely impacted by the seasonality of our business. And so if sales are coming down, depending
on the time of the year that we're in, we're certainly going to see reductions in that reserve. In addition, we made some changes to our returns
policy which, over time, we would assume that the sales returns would be fewer than what we've had experienced in the past. However, we don't
know if we compromise sales by some of those changes initially from a customer-facing perspective. But again, over time, the sales return policy
would impact it. If you have a specific quarter, detail dollars, we can certainly have a follow-up call to walk you through the mechanics of what
you're seeing. And I'm sorry, you had a second question?


Daniel Harry Hofkin - William Blair & Company L.L.C., Research Division - Analyst
Yes. Just about the inventory adjustment. I mean I understand conceptually, but it kind of seems like the inventory presumably was, either in
hindsight, you overpaid for it or market conditions or whatever, kind of competitive positions changed. Just wondering why it would be -- why
you guys would add back kind of that full charge within this quarter as opposed to just part of it or apply it against historical earnings over the
period where it would have lost value.


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 OCTOBER 02, 2019 / 9:00PM, BBBY - Q2 2019 Bed Bath & Beyond Inc Earnings Call


Robyn M. D'Elia - Bed Bath & Beyond Inc. - CFO & Treasurer
Well, this inventory write-down is tied to our strategic initiatives. It's flagging inventory that we see as aged inventory or duplicative SKUs in our
assortment. So we've been actively working on identifying those duplicative SKUs and wanting to move them out of our assortment again so that
we can present a clearer point of view from an inventory and merchandising perspective to our customers. So we view this as tied to transformation.


Operator
And this concludes the question-and-answer session. I'll now turn the call back over to Janet Barth for final remarks.


Janet M. Barth - Bed Bath & Beyond Inc. - VP of IR
Thank you. And thank you all for participating on our call today. If we didn't get to your questions or if you have additional questions, please feel
free to contact me for a follow-up call, e-mail. Call me, I'll be happy to get back to you. Otherwise, have a good night.


Operator
Thank you. Ladies and gentlemen, this concludes today's conference call. Thank you for participating, and you may now disconnect.




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JHQHUDOHFRQRPLFFRQGLWLRQVLQFOXGLQJWKHKRXVLQJPDUNHWDFKDOOHQJLQJRYHUDOOPDFURHFRQRPLFHQYLURQPHQWDQGUHODWHGFKDQJHVLQWKHUHWDLOLQJ
HQYLURQPHQWFRQVXPHUSUHIHUHQFHVVSHQGLQJKDELWVDQGDGRSWLRQRIQHZWHFKQRORJLHVGHPRJUDSKLFVDQGRWKHUPDFURHFRQRPLFIDFWRUVWKDWPD\
LPSDFWWKHOHYHORIVSHQGLQJIRUWKHW\SHVRIPHUFKDQGLVHVROGE\WKH&RPSDQ\FLYLOGLVWXUEDQFHVDQGWHUURULVWDFWVXQXVXDOZHDWKHUSDWWHUQVDQG
QDWXUDOGLVDVWHUVFRPSHWLWLRQIURPH[LVWLQJDQGSRWHQWLDOFRPSHWLWRUVDFURVVDOOFKDQQHOVSULFLQJSUHVVXUHVOLTXLGLW\WKHDELOLW\WRDFKLHYHDQWLFLSDWHG
FRVWVDYLQJVDQGWRQRWH[FHHGDQWLFLSDWHGFRVWVDVVRFLDWHGZLWKRUJDQL]DWLRQDOFKDQJHVDQGLQYHVWPHQWVWKHDELOLW\WRDWWUDFWDQGUHWDLQTXDOLILHG
HPSOR\HHVLQDOODUHDVRIWKHRUJDQL]DWLRQWKHFRVWRIODERUPHUFKDQGLVHDQGRWKHUFRVWVDQGH[SHQVHVSRWHQWLDOVXSSO\FKDLQGLVUXSWLRQGXHWRWUDGH
UHVWULFWLRQVSROLWLFDOLQVWDELOLW\ODERUGLVWXUEDQFHVSURGXFWUHFDOOVILQDQFLDORURSHUDWLRQDOLQVWDELOLW\RIVXSSOLHUVRUFDUULHUVDQGRWKHULWHPVWKHDELOLW\
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SURILWDEO\PDLQWDLQWKHDSSURSULDWHPL[RIGLJLWDODQGSK\VLFDOSUHVHQFHLQWKHPDUNHWVLWVHUYHVWKHDELOLW\WRDVVHVVDQGLPSOHPHQWWHFKQRORJLHVLQ
VXSSRUWRIWKH&RPSDQ\¶VGHYHORSPHQWRILWVRPQLFKDQQHOFDSDELOLWLHVXQFHUWDLQW\LQILQDQFLDOPDUNHWVYRODWLOLW\LQWKHSULFHRIWKH&RPSDQ\¶V
FRPPRQVWRFNDQGLWVHIIHFWDQGWKHHIIHFWRIRWKHUIDFWRUVRQWKH&RPSDQ\¶VFDSLWDODOORFDWLRQVWUDWHJ\ULVNVDVVRFLDWHGZLWKWKHDELOLW\WRDFKLHYHD
VXFFHVVIXORXWFRPHIRULWVEXVLQHVVFRQFHSWVDQGWRRWKHUZLVHDFKLHYHLWVEXVLQHVVVWUDWHJLHVWKHLPSDFWRILQWDQJLEOHDVVHWDQGRWKHULPSDLUPHQWV
GLVUXSWLRQVWRWKH&RPSDQ\¶VLQIRUPDWLRQWHFKQRORJ\V\VWHPVLQFOXGLQJEXWQRWOLPLWHGWRVHFXULW\EUHDFKHVRIV\VWHPVSURWHFWLQJFRQVXPHUDQG
HPSOR\HHLQIRUPDWLRQRURWKHUW\SHVRIF\EHUFULPHVRUF\EHUVHFXULW\DWWDFNVUHSXWDWLRQDOULVNDULVLQJIURPFKDOOHQJHVWRWKH&RPSDQ\¶VRUDWKLUGSDUW\
SURGXFWRUVHUYLFHVXSSOLHU¶VFRPSOLDQFHZLWKYDULRXVODZVUHJXODWLRQVRUVWDQGDUGVLQFOXGLQJWKRVHUHODWHGWRODERUKHDOWKVDIHW\SULYDF\RUWKH
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FXVWRPHUVFKDQJHVWRVWDWXWRU\UHJXODWRU\DQGOHJDOUHTXLUHPHQWVLQFOXGLQJZLWKRXWOLPLWDWLRQSURSRVHGFKDQJHVDIIHFWLQJLQWHUQDWLRQDOWUDGHFKDQJHV
WRRUQHZWD[ODZVRULQWHUSUHWDWLRQRIH[LVWLQJWD[ODZVQHZRUGHYHORSPHQWVLQH[LVWLQJOLWLJDWLRQFODLPVRUDVVHVVPHQWVFKDQJHVWRRUQHZ
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